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                                   IN THE UNITED STATES DISTRICT COURT
                                       WESTERN DISTRICT OF VIRGINIA
                                            ABINGDON DIVISION
                                 CRIMINAL MINUTES – SENTENCING HEARING

  Case No.: 1:18CR00025-005                                                               Date: July 31, 2019
   Defendant: Andrea Nicole Stickel / Custody                    Counsel: Gregory M. Stewart / Appointed



  PRESENT:         JUDGE:                    James P. Jones, USDJ TIME IN COURT: 2:29 – 2:52 p. m.
                   Deputy Clerk:             Lottie Lunsford                     (23 minutes)
                   Court Reporter:           Donna Prather, OCR
                   U. S. Attorney:           Samuel Cagle Juhan
                   USPO:                     Angela Sullivan
                   Case Agent:               N/A
                   Interpreter:              N/A

  PROCEEDINGS:

          Objections to Presentence Report withdrawn by counsel.
          Government withdraws Notice of Potential Grounds for Upward Departure (DE 674)

          Government moves to dismiss forfeiture allegation. Court grants motion.

          No evidence presented.
          Court hears argument as to appropriate sentence.
          Court adopts Presentence Report.

          Allocutions.

  SENTENCE IMPOSED AS FOLLOWS:
  CBOP: Count 1 – Two hundred ten (210) months.
  SR:    Five (5) years - comply w/Standard, Mandatory & Special Conditions.
                 Mandatory drug testing suspended.
  SA:   $100.00 due immediately.
  FINE: Waived
  REST: N/A

          Court recommends as follows:
                   That Defendant receive residential drug treatment while imprisoned.
                   That Defendant be designated to FPC Alderson in order to facilitate visits with family members.

  SPECIAL CONDITIONS OF SUPERVISION (Check applicable conditions):
        The defendant shall reside in a residence free of firearms, ammunition, destructive devices and dangerous
        weapons.
        The defendant must submit to warrantless search and seizure of person and property by the probation officer
        or other law enforcement officer, whenever such officer has reasonable suspicion that the defendant is
        engaged in criminal activity.
        Following release from imprisonment, the court will evaluate defendant’s status and determine whether, after
        incarceration, drug rehabilitation is necessary and appropriate. If additional rehabilitation is deemed
        appropriate, the defendant shall participate in a program as designated by the court, upon consultation with
        the probation officer, until such time as the defendant has satisfied all the requirements of the program.
        The defendant shall pay any fine, special assessment or restitution that is imposed by this judgment.
        The defendant shall not purchase, possess, use or administer any alcohol, or frequent any businesses whose
        primary function is to serve alcoholic beverages.
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  PAYMENT SCHEDULE:

        A lump sum payment of $100.00 is due immediately.

  ADDITIONAL RULINGS:
        Defendant advised of right to appeal.
        Defendant remanded to custody.
